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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )               Criminal No. 21-0382 (PLF)
                                    )
CHRISTOPHER WARNAGIRIS,             )
                                    )
            Defendant.              )
____________________________________)

                                            ORDER

              Upon consideration of the United States’ Motion to Dismiss Indictment with

Prejudice Pursuant to Federal Rule of Criminal Procedure 48(a) [Dkt. No. 173], it is hereby

              ORDERED that the United States’ Motion to Dismiss Indictment with Prejudice

Pursuant to Federal Rule of Criminal Procedure 48(a) [Dkt. No. 173] is GRANTED in part and

DENIED in part; it is

              FURTHER ORDERED that the case is hereby DISMISSED without prejudice;

and it is

              FURTHER ORDERED that all future deadlines and court appearances are

VACATED.

              The Clerk of Court is directed to terminate the case. An opinion will follow.

              SO ORDERED.                                                   Date: 2025.01.22
                                                                            15:27:56 -05'00'
                                                           ________________________
                                                           PAUL L. FRIEDMAN
                                                           United States District Judge
DATE: January 22, 2025
